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                                   (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)




(EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)



          (Firm Name, Address, and Telephone Number)                                                          (If Known)




                                         (Place an X in One Box Only)                                                                       (Place an X in One Box for Plaintiff
                                                                                        (For Diversity Cases Only)                            and One Box for Defendant)

                                                                                                                                                 or
                                     (U.S. Government Not a Party)
                                                                                                                                                 and
                                    (Indicate Citizenship of Parties in Item III)



                              (Place an X in One Box Only)




             (Place an X in One Box Only)

                                                                                                                                  (specify)


                                                                                    (Do not cite jurisdictional statutes unless diversity)




             (See instructions):
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